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                     UNITED STATES DISTRICT COURT
        FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.1)
                                  Eastern Division

Julie Hodge
                                                     Plaintiff,
v.                                                                Case No.:
                                                                  1:24−cv−02226
                                                                  Honorable Jorge L.
                                                                  Alonso
Northern Illinois Regional Commuter Railroad
Corporation
                                                     Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, January 17, 2025:


        MINUTE entry before the Honorable Beth W. Jantz: Plaintiff's Unopposed Motion
for Protective Order [38] was improperly presented to the District Judge and falls within
Judge Jantz's referral for discovery supervision. The Court takes the motion under
advisement. Per Judge Jantz's Standing Order on Confidentiality or Protective Orders and
Filing Material Under Seal, the parties "must base the proposed order on the model
protective order approved by the full Court and set forth in the Local Rules: Form LR 26.2
Model Confidentiality Order," and "shall email copies of [a] redlined version and the
clean Word version of the proposed order to the Court's proposed order inbox
(Proposed_Order_Jantz@ilnd.uscourts.gov), with CC to counsel for all parties." The
parties are ordered to submit their proposed order to Judge Jantz's proposed order inbox
by 1/23/25. The Court will rule on the motion upon review of the proposed order to ensure
it substantially complies with the model order. Mailed notice. (lxk, )




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